            Case 6:17-cv-00065-JR      Document 11      Filed 08/11/17     Page 1 of 3

Kenneth P. Dobson, OSB No. 002435
landlaw.oregon@gmail.com
Attorney at Law
0324 Abernethy Street
Portland, OR 97239
(503) 684-8198
Attorney for Plaintiff
                        UNITED STATES DISTRICT COURT
                              DISTRICT OF OREGON
                               EUGENE DIVISION

SHERRI STUART,                                      )
                                                    )
                Plaintiff,                          )
                                                    )
       v.                                           )       No. 6:17-cv-00065-JR
                                                    )
                                                    )
                                                    )
CAPITAL ONE BANK,                                   )
                                                    )
                Defendant.                          )


                     STIPULATION OF DISMISSAL WITH PREJUDICE


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff, SHERRI STUART

(“Plaintiff”), and Defendant, CAPITAL ONE BANK, (“Defendant”), through their counsel,

stipulate that the dispute between the parties has been resolved, and the parties agree to dismiss

this case, with prejudice, both sides to bear their own fees and costs. Therefore, the parties

respectfully request this Honorable Court dismiss this case, with prejudice, both sides to bear

their own fees and costs.
        Case 6:17-cv-00065-JR   Document 11   Filed 08/11/17     Page 2 of 3




Dated: August 11, 2017              Respectfully Submitted,

                                    By:/s/ Kenneth P. Dobson
                                    Kenneth P. Dobson
                                    Attorney at Law
                                    0324 S.W. Abernethy Street
                                    Portland, Oregon 97239
                                    Tel: (971) 717-6582
                                    landlaw.oregon@gmail.com

                                    ATTORNEY FOR PLAINTIFF




Dated: August 11, 2017              Respectfully Submitted,

                                    By:/s/ Joel A. Parker
                                    Joel A. Parker
                                    Schwabe, Williamson & Wyatt
                                    1211 SW 5th Ave
                                    Suite 1600
                                    Portland, OR 97204
                                    Tel: (503) 796-2900
                                    Fax: (503) 796-2900
                                    jparker@schwabe.com

                                    ATTORNEY FOR DEFENDANT




                                      2
         Case 6:17-cv-00065-JR         Document 11       Filed 08/11/17     Page 3 of 3




                                CERTIFICATE OF SERVICE

       I hereby certify that on August 11, 2017, I electronically filed the foregoing Stipulation of

Dismissal with the Clerk of the Court by using the CM/ECF System. A copy of said Stipulation

was submitted to all parties by way of the Court’s CM/ECF System



                                      By:    /s/ Kenneth P. Dobson
                                             Kenneth P. Dobson
                                             Attorney for Plaintiff




                                                3
